     Case 4:20-cr-00193-SMR-HCA                         Document 59             Filed 11/06/22            Page 1 of 7




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                                       )
                                                                )    Criminal No. 4:20-CR-00193
                                                                )
                       v.                                       )    GOVERNMENT=S SENTENCING
                                                                )    MEMORANDUM
ANDREW NORMAN OVERBECK,                                         )
                                                                )
                              Defendant.                        )

                                              TABLE OF CONTENTS

I. Background & Sentencing Issues ............................................................................. 1

II. Enhancement for Obstruction of Justice ................................................................ 2

III. Appropriate Sentence .............................................................................................. 5

IV. Conclusion ................................................................................................................ 7

                                  I. Background & Sentencing Issues

         Defendant was charged with possession with intent to distribute 500 grams or

more       of    a    mixture           and     substance           containing        a    detectable           amount        of

methamphetamine, a Schedule II substance, in violation of Title 21 U.S.C. §§ 841(a)

and 841(b)(1)(A) (Count One). (Dkt. 2 (Indictment)). Defendant was serving a term of

supervised           release      for     his     2002       conviction         for    conspiracy          to    distribute

methamphetamine at the time of the offense conduct in this case, and a motion to

revoke, along with multiple addendums, were filed. (4:02-CR-25 Dkt. 39, 142, 147,

157, 161.) In May 2021, Defendant entered a guilty plea to Count One. (Dkt. 23 (Plea

Agreement)).


                                                               1
   Case 4:20-cr-00193-SMR-HCA        Document 59     Filed 11/06/22    Page 2 of 7




      Sentencing is scheduled for November 9, 2022. In the government’s view, the

issues the Court must resolve at sentencing are: (1) applicability of the two-level

enhancement for obstruction of justice, pursuant to United States Sentencing

Guidelines (U.S.S.G.) §3C1.1; (2) Defendant’s ability to pay a fine; (3) whether

Defendant’s sentence should run consecutively to his supervised release violation

sentence in 4:02-CR-25; and (4) determination of a sentence that is sufficient but not

greater than necessary. 1 There are no counts to dismiss at sentencing.

                  II. Enhancement for Obstruction of Justice

      Pursuant to U.S.S.G. §3C1.1, a two-level enhancement applies:

      If (1) the defendant willfully obstructed or impeded, or attempted to
      obstruct or impede, the administration of justice with respect to the
      investigation, prosecution, or sentencing of the instant offense of
      conviction, and (2) the obstructive conduct related to (A) the defendant’s
      offense of conviction and any relevant conduct; or (B) a closely related
      offense, increase the offense level by 2 levels.

U.S.S.G. §3C1.1. Pursuant to Application Note 1 to U.S.S.G. §3C1.1:

      Obstructive conduct that occurred prior to the start of the investigation
      of the instant offense of conviction may be covered by this guideline if
      the conduct was purposefully calculated, and likely, to thwart the
      investigation or prosecution of the offense of conviction.

1 Defense counsel advised the government that Defendant would be withdrawing his

objection to the government’s drug quantity calculation and agreeing to the
conversion of the seized cash to actual methamphetamine for a base offense level of
36. In any event, in response to Defendant’s contentions that the actual
methamphetamine located in the eyeglasses case belonged to Ned Osborn as
opposed to Defendant and that some of the seized $27,800 was proceeds from a
legitimate business, Defendant stipulated in his plea agreement that he “knowingly
possessed 13 grams of actual methamphetamine in an eyeglasses case” on
September 9, 2020 and intended to distribute some or all of it, and that the $27,800
was drug proceeds. (Dkt. 23 at para. 8.)

                                          2
    Case 4:20-cr-00193-SMR-HCA        Document 59    Filed 11/06/22   Page 3 of 7




U.S.S.G. §3C1.1, comment. (n.1). The Guidelines stated that an example of conduct

covered by §3C1.1 is:

      destroying or concealing or directing or procuring another person to
      destroy or conceal evidence that is material to an official investigation
      or judicial proceeding (e.g., shredding a document or destroying ledgers
      upon learning that an official investigation has commenced or is about
      to commence), or attempting to do so[.]

U.S.S.G. §3C1.1, comment. (n.4(D)).

      The uncontested facts of the PSR establish by a preponderance of the evidence

that the obstruction of justice enhancement is applicable. As in United States v.

Kempter, 29 F.4th 960, 967 (8th Cir. 2022), Defendant’s conduct “supports an

inference that [Defendant] believed he was or would be under investigation, and thus

willfully attempted to obstruct or impede the administration of justice.”

      On September 7, 2020, Defendant was arrested at 815 Lexington in Carlisle in

response to Defendant being at the residence in violation of a no contact order. (PSR

para. 10.) Defendant was on supervised release at this time, and previously, on June

19, 2020, Defendant had been arrested for multiple domestic assault offenses. (4:02-

CR-25 Dkt. 142.) Because no one responded to a police officer’s knock on the door of

the residence, law enforcement obtained a search warrant for the residence, and

located Defendant hiding in the basement with a police scanner. (PSR para. 12.)

Defendant was arrested and booked into the county jail, and law enforcement

obtained two additional search warrants for the residence to seize drugs and drug-

related items from protected party’s bedroom. (Id. at para. 13.) Two days later, from

                                          3
    Case 4:20-cr-00193-SMR-HCA       Document 59     Filed 11/06/22   Page 4 of 7




jail, Defendant directed an associate over the phone to remove from 815 Lexington

methamphetamine and $27,800 in U.S. currency that was hidden in the garage. (Id.

at para. 14.)

      Defendant’s actions demonstrate that the believed he was or would be under

investigation, and thus willfully attempted to obstruct or impede the administration

of justice. By the fact that he was being held in jail, Defendant knew he was under

investigation for, at the very least, violating the no contact order. Furthermore,

because Defendant was facing new state charges while serving federal supervised

release, it can be inferred Defendant knew he was under investigation for purposes

of revocation. Finally, the residence at which he had been arrested two days earlier

had at that point been the subject of three search warrants, including for drugs and

drug-related items. Thus, it can be inferred that Defendant also knew he was under

investigation for drug charges as well.

      Defendant’s argument that the enhancement is inapplicable because he did not

instruct that any drugs and/or U.S. currency be concealed or destroyed is unavailing.

Defendant was concealing his possession of methamphetamine and drug proceeds by

instructing that the drugs and U.S. currency be removed from 815 Lexington, the

location at which he had been hiding and subsequently arrested two days earlier.

Moreover, to the extent Defendant argues that any obstructive conduct occurred

before the investigation began, that argument is also unavailing. It is clear that

Defendant’s conduct was “purposefully calculated, and likely, to thwart the


                                          4
   Case 4:20-cr-00193-SMR-HCA          Document 59     Filed 11/06/22    Page 5 of 7




investigation or prosecution of the offense of conviction.” U.S.S.G. §3C1.1, comment.

(n.1). Accordingly, the government respectfully requests that the Court apply the

enhancement.

                              III. Appropriate Sentence

      Based on the foregoing, the Guideline calculations are as follows:

             Base Offense Level:                             36
             Obstruction of Justice:                         +2
             Acceptance of Responsibility:                   -3
             Total Offense Level:                            35

             Criminal History Category: IV

                           Guideline Range: 262 to 327 months

      The appropriate sentence to be imposed by the Court should be Asufficient but

not greater than necessary@ to meet relevant sentencing objectives, which include:

      1.     the nature and circumstances of the offense and history and
             characteristics of the defendant;
      2.     the need for the sentence to imposed -
             A.     to reflect the seriousness of the offense, to promote respect for the
                    law, and to provide just punishment for the offense;
             B.     to afford adequate deterrence to criminal conduct;
             C.     to protect the public from further crimes of the defendant; and
             D.     to provide the defendant with needed educational or vocational
                    training, medical care, or other correctional treatment in the most
                    effective manner;
      3.     the kinds of sentences available;
      4.     the guideline sentencing range;
      5.     any pertinent policy statement;
      6.     the need to avoid unwarranted sentence disparities among defendants
             with similar records who have been found guilty of similar conduct; and
      7.     the need to provide restitution to any victims of the offense.

See 18 U.S.C. ' 3553(a).


                                           5
    Case 4:20-cr-00193-SMR-HCA         Document 59      Filed 11/06/22    Page 6 of 7




      A sentence at the bottom of the guideline range—262 months—is sufficient but

not greater than necessary. Defendant’s offense is serious. He possessed with intent

to distribute over 100 grams of actual methamphetamine, along with $27,800 in drug

proceeds. Although already taken into account through the obstruction enhancement,

the criminal history computation and the supervised release revocation, the

circumstance    of   the   offense   are   also   serious.   Defendant   possessed      the

methamphetamine and drug proceeds in a residence he was present in with the

person who was the protected party in a no contact order. Defendant directed Osborn

to remove the methamphetamine and drug proceeds from the residence where

Defendant had been arrested and which had been the subject of multiple search

warrants. All of these events occurred while Defendant was on supervised release for

a prior federal drug conviction. Accordingly, the circumstances surrounding

Defendant’s possession of methamphetamine with intent to distributed are

aggravating.

      The Defendant’s history and characteristics warrant a sentence at the bottom

of the guideline range. This is Defendant’s second federal drug conviction. In 2002,

he was convicted of conspiracy to distribute methamphetamine. (PSR para. 49.) This

is Defendant’s fifth drug felony conviction. (Id. at paras. 41, 44, 47, 49.)

      Based on the United States Probation Office’s assessment, it appears

Defendant has the ability to pay a fine. The government defers to the Court’s

judgment as to the appropriate amount but would request that a fine of not less than


                                            6
    Case 4:20-cr-00193-SMR-HCA        Document 59       Filed 11/06/22   Page 7 of 7




$10,000.

      Along with the United States Probation Office, the government asserts that

the Court should order the sentence for the instant offense be served consecutively to

the sentence imposed for revocation of supervised release. See United States v. Roe, 9

F.4th 754, 756 (8th Cir. 2021); U.S.S.G. §7B1.3(f).

                                   IV. Conclusion

      Based on the foregoing, a sentence of 262 months is sufficient but not greater

than necessary.

                                                Respectfully Submitted,

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                                          By:     /s/ Amy Jennings

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CERTIFICATE OF SERVICE
I hereby certify that on November 6, 2022, I electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby certify that a copy of this document
was served on the attorneys of record and U.S. Probation by:

___ U.S. Mail ____ Fax _____ Hand Delivery            X ECF/Electronic filing
    Email

UNITED STATES ATTORNEY
By: /s/Amy Jennings

                                           7
